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                       Exhibit 17
        FILED UNDER SEAL
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                                                                     Page 1
                  IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF LOUISIANA
         IN RE:    XARELTO (RIVAROXABAN):MDL 2592
         PRODUCTS LIABILITY LITIGATION:
                                              :SECTION L
         THIS DOCUMENT RELATES TO             :
         ALL CASES                            :JUDGE ELDON E. FALLON
                                              :MAG. JUDGE NORTH




                                     - - -
                                 NOVEMBER 22, 2016
                                      - - -


                                 - PROTECTED -
               - SUBJECT TO FURTHER PROTECTIVE REVIEW -


                   Videotaped deposition of ROBERT C.
         GOSSELIN, held at The Fairmont Hotel, 170 South
         Market Street, San Jose, California, on the above
         date, beginning at approximately 6:23 a.m., before
         Diane S. Martin, Certified Shorthand Reporter and
         Certified Realtime Reporter.


                        GOLKOW TECHNOLOGIES, INC.
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                                                                     Page 2
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   2
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  25     The Videographer:               Joseph Mourgos


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                                                                  Page 117
   1          A.   There have been a couple of published
   2     papers by Europeans attempting to standardize
   3     rivaroxaban in the same context.            But that's all I
   4     know.     It's been published.
   5          Q.   Do you agree that for Xarelto and other
   6     DOACs, that standardization of PT results has not
   7     been achieved?
   8          A.   I would agree with that statement.
   9          Q.   And without standardization or
  10     harmonization, the results of the same PT test
  11     performed the same way on the same sample can -- as
  12     concerns Xarelto, can vary from lab -- laboratory
  13     to laboratory; correct?
  14          A.   True, but the INR has not mitigated that
  15     bias as well.      It's helped, but it's still there.
  16          Q.   So what you're saying is that even with
  17     standardization, the INR is not a perfect test.
  18     There can still be some variation; correct?
  19          A.   Yes.
  20          Q.   But the INR has been standardized or
  21     harmonized to an extent such that it has been
  22     generally accepted as being standardized or
  23     harmonized between laboratories; correct?
  24          A.   If you understand the background of why the
  25     INR was developed, it had more to do with



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                                                                  Page 119
   1          Q.   So you'd agree that with PT testing in a
   2     Xarelto patient, you could have the same sample
   3     using the same reagent but tested in a different
   4     laboratory and the results could be different?
   5          A.   Oh, absolutely.
   6          Q.   Oops.    Sorry.    I don't know where I put
   7     this exhibit.      I just stuck it somewhere.
   8               It's here.
   9               MS. DAVIS:     Let's just go off the record
  10     for just a second.
  11               THE VIDEOGRAPHER:        We are off the record at
  12     9:26 a.m.
  13               (Recess taken.)
  14               THE VIDEOGRAPHER:        We are back on the
  15     record.    The time is 9:38 a.m.
  16     BY MS. DAVIS:
  17          Q.   Mr. Gosselin, we just took a brief break.
  18     Are you ready to proceed or --
  19          A.   Yes.
  20          Q.   Okay.    Before the break, one of the things
  21     that we were discussing was INR testing.
  22               Do you recall that?
  23          A.   Yes.
  24          Q.   And I asked you if you agreed that INR was
  25     not used for evaluating the anticoagulant effect of



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                                                                  Page 122
   1     the 2015 article in Thrombosis Research on which
   2     you're an author.       And I'd like to refer you to the
   3     second page of that article, under the title,
   4     "Laboratory Assays and DOACs, an Overview."
   5               Do you see that?
   6          A.   Yes.
   7          Q.   And do you see the beginning of the second
   8     paragraph there that begins, "Routine coagulation
   9     screening assays"?
  10          A.   Yes.
  11          Q.   And do you see the sentence that reads,
  12     "Routine coagulation screening assays, including
  13     the prothrombin time, PT, activated partial
  14     thromboplastin time, APTT, and thrombin clotting
  15     time, TCT, are widely available on a routine and
  16     emergence -- emergent basis in most clinical
  17     laboratories.      These assays are not a reliable
  18     measure of DOAC anticoagulant effect"?
  19               Did I read that correctly?
  20          A.   Yes.
  21          Q.   And do you agree with that sentence?
  22          A.   Yes.
  23          Q.   And the -- the article goes on to state,
  24     and I'm quoting, and I'm right after where I just
  25     read, "This is because the sensitivity of the PT



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                                                                  Page 123
   1     and APT varies considerably based on reagents used,
   2     as well as the specific DOAC being measured.               Given
   3     this," and -- and I'm leaving out the reference
   4     numbers, but -- "Given this, PT or APTT results in
   5     seconds in the presence of a given concentration of
   6     DOAC cannot be standardized across laboratories."
   7               Did I read that correctly?
   8          A.   Yes.
   9          Q.   And you agree with that statement?
  10          A.   We cited references to support that
  11     statement because it didn't come from our work.
  12          Q.   And again, we -- we -- can we just agree
  13     that generally that when you cite references and
  14     write something in a medical article, that -- that
  15     you're doing that because you believe that that
  16     statement is correct as supported by those
  17     references?
  18               MR. ABNEY:     Object to the form.
  19               THE WITNESS:      We put the statement in the
  20     article if it's been published in peer-reviewed
  21     journals.     I don't know necessarily every statement
  22     I put into a -- a journal or in a paper that's been
  23     referenced I agree with.         It's just putting the
  24     information out there succinctly for somebody to
  25     look at one article versus 30.           So I think that's



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                                                                  Page 124
   1     the intent of citing references and claims or -- or
   2     sentences that we as the authors of this have not
   3     personally performed.
   4     BY MS. DAVIS:
   5          Q.   But as an author, and in citing references,
   6     you're synthesizing material and presenting that in
   7     a -- in a referenced sentence.           And -- and when you
   8     present that referenced -- referenced sentence in
   9     the peer-review published medical literature, you
  10     believe that you're providing accurate information?
  11          A.   Well, you're --
  12               MR. ABNEY:     Objection.      Asked and answered.
  13               Go ahead.
  14               THE WITNESS:      We are providing information
  15     that's been published by others.            The accuracy of
  16     that information -- again, if we had not done it
  17     personally, this is why we cite references versus
  18     our own work.      Whether it's true or not true,
  19     again, is up to a reader of those references.
  20     BY MS. DAVIS:
  21          Q.   But the sentence that I just read that had
  22     references, you believe that that -- that the
  23     summary information that you provided in this
  24     article reflected the appropriate interpretation of
  25     those references?



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                                                                  Page 125
   1          A.   I would say that these sentences and the
   2     references, yes.
   3          Q.   And you would agree that in these -- in
   4     this paragraph that we've just read from, when you
   5     refer to DOACs, that would include Xarelto?
   6          A.   Yes.
   7          Q.   And if you turn over to page 11, which is
   8     the last page in this article, in the conclusion
   9     section -- and this sentence starts about six lines
  10     down -- do you see the sentence that begins,
  11     "Differences in the sensitivity"?
  12          A.   Yes.
  13          Q.   And this sentence reads, "Differences in
  14     the sensitivity of routine coagulation screening
  15     tests to DOACs prevent their use in reliably
  16     determining drug concentration."
  17               Do you agree with that sentence?
  18          A.   Yes.
  19          Q.   And that would include Xarelto?
  20          A.   Yes.
  21          Q.   And in your expert report in this
  22     litigation, you address some of these differences
  23     in sensitivity of the routine coagulation screening
  24     tests for DOACs; right?
  25          A.   Yes.



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                                                                   Page 127
    1         A.   Based on our published studies, yes.
    2         Q.   And you agree that laboratories across the
    3    United States use a number of different reagents to
    4    perform PT testing?
    5         A.   Yes.
    6         Q.   And I believe you covered this in appendix
    7    A to your report, but you reported that Innovin was
    8    used by about 35 percent of laboratories?
    9         A.   Roughly, yes.
   10         Q.   And Neo -- Neoplastine CI Plus by about 33
   11    percent of laboratories?
   12         A.   Sounds about right.
   13         Q.   And RecombiPlasTin 2G by about 25 percent
   14    of laboratories?
   15         A.   Sounds about right.
   16         Q.   And I added that all up and got 93 percent.
   17    So that would mean about seven percent or so use a
   18    number of other different reagents?
   19         A.   Yes.
   20         Q.   So you'd agree that -- just to sort of wrap
   21    up this area -- that many different PT reagents are
   22    used by laboratories across the country?
   23              MR. ABNEY:      Object to form.
   24              THE WITNESS:       Yes.
   25    BY MS. DAVIS:



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                                                                   Page 133
    1    different question.
    2    BY MS. DAVIS:
    3         Q.   And the answer to that question, in looking
    4    at them together, is no?
    5         A.   It -- they would be unreliable to make a
    6    global statement about the use for quantifying.
    7         Q.   And if you look over on page 1682, which is
    8    the third page of this article, do you see the
    9    section entitled "Comment"?
   10         A.   Yes.
   11         Q.   And looking at the last sentence in that
   12    paragraph that begins, "Overall," do you see that?
   13         A.   Yes.
   14         Q.   And do you agree that this article says,
   15    "Overall, those studies showed the use of routine
   16    activated partial thromboplastin time and
   17    prothrombin time reagents is limited by the
   18    variability and responsiveness to rivaroxaban among
   19    reagents, and because those global assays cannot
   20    reliably provide drug concentration, especially
   21    throughout the expected broad range of
   22    concentrations observed when collected at peak or
   23    trough times"?
   24              Did I read that correctly?
   25         A.   You did.



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                                                                   Page 134
    1         Q.   And you agree with that statement?
    2         A.   Based on the studies we're citing, yes.
    3              (DEFENDANTS' EXHIBIT 8 WAS MARKED.)
    4    BY MS. DAVIS:
    5         Q.   Mr. Gosselin, I'd like to hand you what
    6    I've marked as Exhibit 8 to your deposition.
    7              And do you recognize this as an article on
    8    which you are the first author that was published
    9    in the International Journal of Laboratory
   10    Hematology in 2016, so just this year, that's
   11    titled, "A comparison of the effect of the anti-Xa
   12    direct oral anticoagulant apixaban, edoxaban and
   13    rivaroxaban on coagulation assays"?
   14         A.   Yes.
   15         Q.   And if you look over to the second page of
   16    that article under the introduction, there's a
   17    sentence about three-quarters of the way down on
   18    the left-hand column that begins, "With so few
   19    laboratories."
   20              Do you see that?
   21         A.   Three quarters.       Three quarters.
   22              Oh, yes.     Okay.
   23         Q.   So do you see the sentence that reads,
   24    "With so few laboratories executing methods to
   25    quantitate DOACs, there appears to be a false sense



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                                                                   Page 137
    1               Oh, okay.
    2          Q.   Other side of the page, I meant.
    3          A.   Okay.
    4          Q.   Do you see the sentence that -- that
    5    reads -- that begins, "PT"?
    6               You with me?       The -- it's the very last
    7    line there on the abstract side.
    8          A.   Got it.
    9          Q.   Okay.
   10          A.   Okay.
   11          Q.   And it reads, "PT, A" -- comma, "APTT, and
   12    activated clotting time, ACT, were insensitive to
   13    trough rivaroxaban.         59 percent, 62 percent and 80
   14    percent of samples had a normal result
   15    respectively."
   16               You see that?
   17          A.   Yes.
   18          Q.   And did I read that correctly?
   19          A.   Yes.
   20          Q.   And do you agree with that?
   21          A.   It's what the data demonstrated, yes.
   22          Q.   And that was data from a study that you
   23    were involved in?
   24          A.   Yes.
   25          Q.   And if you look over to page 1138 of this



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                                                                   Page 140
    1              Sort of the last paragraph in 1139 page,
    2    there is a -- a paragraph that begins, "In
    3    conclusion."
    4              Do you see that?
    5         A.   Yes.
    6         Q.   So this article states, "In -- in
    7    conclusion, this study evaluating the performance
    8    of a large variety of coagulation tests in patients
    9    on therapeutic doses of rivaroxaban shows that A,
   10    the PT, APTT and ACT are often normal in spite of,"
   11    quote, "on-therapy," close quote, "rivaroxaban
   12    plasma levels, but normal values do not rule out
   13    that a patient is taking therapeutic doses of
   14    rivaroxaban and do not prove the absence of
   15    circulating drug."
   16              Did I read that correctly?
   17         A.   Yes.
   18         Q.   And do you agree with that?
   19         A.   Yes.
   20         Q.   And if you look down at subsection C,
   21    another part of this conclusion reads, "The -- the
   22    PT and ACT are often prolonged at peak on-therapy
   23    rivaroxaban levels but correlate poorly with drug
   24    levels.     Thus they can provide a rough estimate
   25    that rivaroxaban is circulating but not provide



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                                                                   Page 141
    1    meaningful -- meaningful information on absolute
    2    drug levels."
    3              And then, D, "PT and APT measured from
    4    whole blood" -- oh, never mind about that.               We'll
    5    just stop with C.
    6         A.   Okay.
    7         Q.   So the subsection C that I read, do you
    8    agree with that?
    9         A.   Yes.
   10         Q.   So am I correct that what subsection C of
   11    that sentence is saying is that what an elevated PT
   12    in a rivaroxaban patient would tell you is that at
   13    the time the blood is drawn, there is rivaroxaban
   14    circulating in the blood?
   15              MR. ABNEY:      Object to form.
   16              THE WITNESS:       The way I read it is that
   17    when we're talking specifically about the peak
   18    sample collection on these patients, and what was
   19    defined as "on therapy," it's prolonged in these
   20    patients.     Often prolonged.
   21    BY MS. DAVIS:
   22         Q.   And -- and that information can provide you
   23    a rough estimate that rivaroxaban is circulating
   24    but does not provide meaning -- meaningful
   25    information as to drug levels; correct?



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                                                                   Page 153
    1    medication history, the answer is yes.
    2         Q.   And if you go over to the next page, page
    3    890, do you see the section that's entitled, "How
    4    much anti-factor Xa DOAC is present"?
    5         A.   Yes.
    6         Q.   And looking at the first sentence in that
    7    section, do you see where this article that you
    8    wrote states, "Although the PT may be relatively
    9    sensitive," open paren, "as compared with the
   10    APTT," close paren, "to anti-factor Xa DOACs, this
   11    test should not be used to quantify or estimate
   12    drug con -- drug concentration"?
   13              Do you agree with that?
   14         A.   Yes.
   15         Q.   And do you agree that that sentence, in
   16    other words, the fact that PT should not be used to
   17    quantify or estimate drug concentration of Xarelto,
   18    applies to each and every PT reagent?
   19         A.   I would not agree with that statement.
   20              What I would agree with, when we say "PT,"
   21    we're collectively pooling all the data together.
   22    Because physicians, to my knowledge, don't really
   23    know what method they have in the laboratory.                And
   24    so to say something as generic as the PT may be yes
   25    or no, we have to take the lowest common



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                                                                   Page 154
    1    denominator and use that as the -- the yardstick,
    2    as opposed to a -- a global application saying all
    3    the protimes are sensitive or insensitive.
    4              So I think it's -- we -- we caveat some of
    5    our things when we're not specific.             If we were
    6    being specific, we would say so.
    7         Q.   You'd agree that in your experience -- or
    8    that it's your belief that physicians are generally
    9    not aware of what PT reagent is being used by a
   10    laboratory?
   11         A.   I would agree with that statement.
   12         Q.   And you'd agree that as concerns Xarelto,
   13    that PT should not be used to quantify or estimate
   14    drug concentration; correct?
   15              MR. ABNEY:      Object to form.
   16              THE WITNESS:       I would say as a global
   17    statement, that is correct.
   18    BY MS. DAVIS:
   19         Q.   Let's turn back to your report for a
   20    minute, and back to page 10.
   21              If you look at the bottom of page 10, do
   22    you see the sentence that begins, "Factitious
   23    causes"?
   24         A.   Mm-hm.
   25         Q.   And you --



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                                                                   Page 374
    1                       REPORTER'S CERTIFICATE
    2             The undersigned Certified Shorthand Reporter
    3    licensed in the State of California does hereby
    4    certify:
    5             I am authorized to administer oaths or
    6    affirmations pursuant to Code of Civil Procedure,
    7    Section 2093(b), and prior to being examined, the
    8    witness was duly administered an oath by me.
    9             I am not a relative or employee or attorney or
  10     counsel of any of the parties, nor am I a relative or
  11     employee of such attorney or counsel, nor am I
         financially interested in the outcome of this action.
  12              I am the deposition officer who
  13     stenographically recorded the testimony in the
  14     foregoing deposition, and the foregoing transcript is a
  15     true record of the testimony given by the witness.
  16              Before completion of the deposition, review of
  17     the transcript [X] was [ ] was not requested.            If
  18     requested, any changes made by the deponent (and
  19     provided to the reporter) during the period allowed are
  20     appended hereto.
  21              In witness whereof, I have subscribed my name
  22     this ____ day of __________, 2016.
  23
  24                             _______________________________
  25                             DIANE S. MARTIN, CSR No. 6464



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